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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )       Chapter 11
                                                             )
    JAB Energy Solutions II, LLC1                            )       Case No. 21-11226 (CTG)
                                                             )
                              Debtor.                        )       Re: Docket No.: 312, 382
                                                             )

                 NOTICE OF (I) CONFIRMATION AND EFFECTIVE DATE OF
       THE COMBINED DISCLOSURE STATEMENT AND PLAN OF LIQUIDATION OF
    JAB ENERGY SOLUTIONS II, LLC UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
       AND (II) DEADLINE UNDER THE PLAN AND CONFIRMATION ORDER TO FILE
    ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS, AND REJECTION CLAIMS

                                PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.     Entry of Confirmation Order. On November 8, 2022, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) entered the Order Granting Final Approval
of Disclosure Statement and Confirming Plan of Liquidation of JAB Energy Solutions II, LLC Under
Chapter 11 of the Bankruptcy Code [Docket No. 382] (the “Confirmation Order”) confirming the
Combined Disclosure Statement and Plan of Liquidation of JAB Energy Solutions II, LLC Under Chapter
11 of the Bankruptcy Code [D.I. 312] (together with all exhibits thereto, and as may be amended, modified
or supplemented, the “Plan”)2 in the chapter 11 case of the above-captioned debtor and debtor in
possession (collectively, the “Debtor”).

        2.     Consent to the Effective Date of the Plan. Pursuant to Section 8.4 of the Plan and the
Confirmation Order, unless otherwise agreed to by the DIP Lender, the Allowed DIP Facility Claims were
to be indefeasibly paid and satisfied in full in Cash by the Debtor or Reorganized Debtor on or before the
Effective Date. Subject to receipt of a partial payment of the Allowed DIP Facility Claims, the DIP Lender
consented to the occurrence of the Effective Date prior to payment and satisfaction in full of the Allowed
DIP Facility Claims. The DIP Lender expressly reserves all rights, title and interest to the repayment of
the remaining Allowed DIP Facility Claims.

             3.     Effective Date of the Plan. The Effective Date of the Plan is December 8, 2022.

      4.     Administrative Expense Bar Date. As provided for in Section 3.2 of the Plan and in the
Confirmation Order, all requests for payment of an Administrative Claim must be filed with this Court


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    The last four digits of the Debtor’s U.S. tax identification number are 3625. The Debtor’s mailing address is 19221 I-45
    South, Suite 324, Shenandoah, TX 77385.
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     Unless otherwise defined in this notice, capitalized terms used in this notice shall have the meanings ascribed to them in the
     Plan.



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and served on counsel to the Debtor, the Reorganized Debtor, the Liquidating Trustee and the Liquidating
Trust, and counsel to the U.S. Trustee no later than January 23, 2022 (the date that is forty-five (45)
days after the Effective Date); provided, however, that Persons that asserted administrative claims with
a timely filed Proof of Claim do not need to file additional requests for payment of such Administrative
Claims.

        5.     Deadline to File Professional Fee Claims. As provided for Section 8.3 of the Plan and in
the Confirmation Order, all final applications for payment of the Professional Fee Claims must be filed
with this Court and served on counsel to the Debtor, the Reorganized Debtor, the Liquidating Trustee, and
the Liquidating Trust and such other Entities who are designated by the Bankruptcy Rules no later than
4:00 p.m. prevailing Eastern Time on January 23, 2022 (the date that is forty-five (45) days after
the Effective Date), unless otherwise ordered by this Court or such later date is agreed to by the
Liquidating Trustee.

        6.      Deadline to File Rejection Claims. As provided for in Section 3.118 of the Plan and in
the Confirmation Order, unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim
asserting Rejection Claims pursuant to the Plan or otherwise must be Filed with the Claims and Balloting
Agent within thirty (30) days after the earlier of (a) the Effective Date or (b) an order of the
Bankruptcy Court approving such rejection. Any Claims arising from the rejection of an executory
contract or unexpired lease not filed within such time shall not be treated as an Allowed Claim for purposes
of Distribution without the need for any objection by the Reorganized Debtor or Liquidating Trust or
further notice to, or action, order or approval of the Bankruptcy Court. Allowed Claims arising from the
rejection of the Debtor’s executory contracts or unexpired leases shall be classified as General Unsecured
Claims and shall be treated in accordance with Section 13 of the Plan, as applicable.

        7.     Inquiries by Interested Parties. Copies of the Confirmation Order and the Plan may be
examined free of charge at https://cases.stretto.com/JABenergy. The Confirmation Order and Plan are also
on file with the Bankruptcy Court and may be viewed by accessing the Bankruptcy Court’s website at
www.deb.uscourts.gov. To access documents on the Bankruptcy Court’s website, you will need a PACER
password and login, which can be obtained at www.pacer.psc.uscourts.gov.




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Dated: December 8, 2022              PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Colin R. Robinson
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                                     Colin R. Robinson (DE Bar No. 5524)
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                                     Counsel to the Debtor and Debtor in Possession




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